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1    QUIN DENVIR, Bar #49374
     Federal Defender
2
     MATTHEW C. BOCKMON, Bar #161566
3    Assistant Federal Defender
     Designated Counsel for Service
4    801 I Street, 3rd Floor
     Sacramento, California 95814
5    Telephone: (916) 498-5700
6    Attorney for Defendant
     MATTHEW WALLACE SCHACHTER
7      aka ROBERT LEWIS BROWN
8
9                        IN THE UNITED STATES DISTRICT COURT
10                     FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,       )      NO. CR-S-05-59 DFL
                                     )
13                  Plaintiff,       )
                                     )      STIPULATION AND [PROPOSED] ORDER
14        v.                         )      CONTINUING MOTION HEARING/STATUS
                                     )      CONFERENCE
15   MATTHEW WALLACE SCHACHTER,      )
          aka Robert Lewis Brown,    )
16        aka Matthew Rollins; and   )      Date: September 15, 2005
     LLOYD THOMPSON                  )      Time: 10:00 a.m.
17                                   )      Judge: David F. Levi
                    Defendants.      )
18   _______________________________ )
19
20        The United States of America through Robin R. Taylor, Assistant
21   United States Attorney; Lloyd Thompson, by and through his counsel,
22   Dwight M. Samuel; and Matthew Schachter, by and through his counsel,
23   Matthew C. Bockmon, Assistant Federal Defender, agree to vacate the
24   motion hearing and status conference hearing date of July 25, 2005 and
25   continue the matter for further status conference on September 15,
26   2005, at 10:00 a.m..
27        Mr. Schachter has been transferred from the Sacramento County Mail
28   Jail to the San Joaquin Hospital.      He has had to undergo one surgery
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1    and is scheduled for an additional surgery this week.            The results of a
2    biopsy were received this week and confirm that he has lymphatic
3    cancer.   Preliminary reports from his physician indicate that he will
4    have to undergo a tracheotomy as well as extensive chemo-therapy.            His
5    physical condition currently makes it impossible for him to communicate
6    with his attorneys or assist in his defense.
7          In light of the above-facts, the parties, through their respective
8    attorneys hereby stipulate to continue the status conference/motions
9    hearing in this case until September 15, 2005, at 10:00 a.m.            IT IS
10   FURTHER STIPULATED that the period from July 25, 2005 through and
11   including September 15, 2005 be excluded in computing the time within
12   which trial must commence under the Speedy Trial Act, pursuant to 18
13   U.S.C. § 3161(h)(4) and Local Code N as Mr. Schachter is physically
14   unable to stand trial.
15   Dated: July 27, 2005
16                                            Respectfully submitted,
17                                            QUIN DENVIR
                                              Federal Defender
18
                                              /s/ Matthew C. Bockmon
19                                            ________________________________
                                              MATTHEW C. BOCKMON
20                                            Assistant Federal Defender
                                              Attorney for Defendant
21                                            MATTHEW WALLACE SCHACHTER
                                                 aka Robert Lewis Brown
22
23                                            /s/ Matthew C. Bockmon for
                                              _________________________________
24                                            DWIGHT M. SAMUEL
                                              Attorney for Defendant
25                                            LLOYD THOMPSON
                                              per telephonic authorization
26   ///
27   ///
28   ///


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1    Dated:    July 27, 2005
2                                              MCGREGOR W. SCOTT
                                               United States Attorney
3
                                               /s/ Matthew C. Bockmon for
4                                              _________________________________
                                               ROBIN TAYLOR
5                                              Assistant U.S. Attorney
                                               per telephonic authority
6
7                                         O R D E R
8    IT IS SO ORDERED.
                                               /s/ David F. Levi
9    Dated: July 27, 2005                      _________________________________
                                               DAVID F. LEVI
10                                             United States District Court
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     Stipulation/Order/CR-S-05-59-DFL          3
